                  Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 1 of 30 PageID# 1440




Line No.   Name                            FBI Item #   Description
2.         2018-04-05 17-14-23.flv         1252         Not CP; Begins as a voice call between minor female and godot;
                                                        Transitions to a video call but no video of the minor female is displayed
                                                        and the majority of the video lacks audio; 5:23:57 in length
3.         2018-02-14 07-42-13.mp4         1049         Not CP; Video call between minor female and godot; 00:07 in length
4.         2018-02-14 07-42-13.mp4         1053         Appears to be a duplicate of Item #1049
5.         2018-02-14 18-39-36.mp4         1050         Not CP; Voice call between minor female and godot; Minor female
                                                        appears to engage in conversation with the other participant of the call
                                                        although that voice is never heard; At approximately 2:47, minor victim
                                                        says "I love you so much, Troy."; 33:42 in length
6.         2018-02-14 18-39-36.mp4         1054         Appears to be a duplicate of Item #1050
7.         2018-02-14 20-38-06.mp4         1055         Video call between minor female and godot; Minor female is lying in
                                                        bed with the lights off; Minor female removes the blanket and is
                                                        topless; Minor female then removes her underwear and begins
                                                        masturbating on her hands and knees before lying on her back and
                                                        continuing to masturbate; There appear to be still shot portions of the
                                                        video with the minor female standing in front of the camera and
                                                        fondling her breasts; 32:51 in length; Minor female appears to engage in
                                                        conversation with the other participant of the call but there is no audio
                                                        of the other participant
8.         2018-02-14 20-38-06.mp4         1301         Appears to be a duplicate of Item #1055
9.         2018-02-14 21-18-09.mp4         1057         Not CP; Minor female is sitting on the bed covered in a blanket; 00:04 in
                                                        length
                                                                                                                     Page 1 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
                  Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 2 of 30 PageID# 1441




Line No.   Name                            FBI Item #   Description
10.        2018-02-14 21-18-09.mp4         1302         Appears to be a duplicate of Item #1057
11.        2018-02-15 06-42-25.mp4         1058         Not CP; Voice call between minor female and godot; Minor female
                                                        appears to engage in conversation with the other participant of the call
                                                        but there is no audio of the other participant; 12:23 in length
12.        2018-02-15 06-42-25.mp4         1303         Appears to be a duplicate of Item #1058
13.        2018-02-15 11-51-59.mp4         1059         Not CP; Voice call between minor female and godot; At approximately
                                                        18:12, the minor female asks "Should I turn the camera on? Help you
                                                        take care of that?" shortly followed by "I love you so much too, Troy.";
                                                        At approximately 18:33, the minor female turns on her camera; Minor
                                                        female appears to engage in conversation with the other participant of
                                                        the call but there is no audio of the other participant; 18:34 in length
14.        2018-02-15 11-51-59.mp4         1304         Appears to be a duplicate of Item #1059
15.        Desktop 01.01.2018 -            1003         Not CP; Three participants on call: Godot, AlarmedLollipop,
           21.36.11.20.DVR.mp4                          JennicattheAnomaly
16.        Desktop 01.03.2018 -            1004         Not CP; Video call between minor female and godot; Minor female
           05.56.28.25.DVR.mp4                          appears to engage in conversation with the other participant of the call
                                                        but there is no audio of the other participant; 10:15 in length; Use of
                                                        Instant Replay: Save
17.        Desktop 01.04.2018 -            1005         Not CP; Video call between minor female and godot; Minor female
           05.47.24.36.DVR.mp4                          appears to engage in conversation with the other participant of the call
                                                        but there is no audio of the other participant; 3:40 in length; Use of
                                                        Instant Replay: Save
                                                                                                                      Page 2 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
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                  Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 3 of 30 PageID# 1442




Line No.   Name                            FBI Item #   Description
18.        Desktop 01.07.2018 -            1007         Not CP; Screen shows a fanfic involving SpongeBob and Sandy which the
           10.49.39.45.DVR.mp4                          minor female and other participant of the call appear to be reading
                                                        together; Minor female appears to engage in conversation with the
                                                        other participant of the call but there is no audio of the other
                                                        participant; 10:15 in length; Use of Instant Replay: Save
19.        Desktop 01.07.2018 -            1008         Not CP; Appears to be a continuation of Item #1007; Screen shows a
           11.00.17.48.DVR.mp4                          fanfic involving a teacher and a student which the minor female and
                                                        other participant of the call appear to be reading together; Minor
                                                        female appears to engage in conversation with the other participant of
                                                        the call but there is no audio of the other participant; 10:15 in length;
                                                        Use of Instant Replay: Save
20.        Desktop 01.07.2018 -            1009         Not CP; Voice call between minor female and godot; Screen shows a
           11.18.44.51.DVR.mp4                          Gmail account for Johnathon1800 being created with the minor female
                                                        speaking in the background; Possible password of johnJohn; screen
                                                        shows a Discord account being created for Johnathon1800@gmail.com
                                                        with a password of "johnjohn"; New Discord account is
                                                        Johnathon#3190; 10:15 in length; Use of Instant Replay: Save
21.        Desktop 01.07.2018 -            1010         Not CP; Voice call between minor female and Johnathon; Minor female
           12.17.51.54.DVR.mp4                          appears to engage in conversation with the other participant of the call
                                                        but there is no audio of the other participant; 10:15 in length; Use of
                                                        Instant Replay: Save
22.        Desktop 01.08.2018 -            1011         Not CP; Video call with minor female; Minor female adjusts her bra and
           18.31.09.57.DVR.mp4                          breasts and asks "Is this good enough?" while alternately covering her

                                                                                                                      Page 3 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
                  Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 4 of 30 PageID# 1443




Line No.   Name                            FBI Item #   Description
                                                        chest with her hands; Minor female then says "God, you're really
                                                        pushing for it." before pulling her shirt down and then up and saying
                                                        "Am I done now?"; Minor female subsequently asks "Can't you find this
                                                        on the internet, why do you need it from me?"; Minor female removes
                                                        her bra and asks "Am I done?"; Minor female appears to engage in
                                                        conversation with the other participant of the call but there is no audio
                                                        of the other participant; 10:15 in length; Use of Instant Replay: Save
23.        Desktop 01.10.2018 -            1012         Not CP; Screen shows searches for how to talk dirty and how to moan;
           11.49.54.60.DVR.mp4                          Then transitions to a video call between minor female and godot in
                                                        which the minor female is clothed; Minor female appears to engage in
                                                        conversation with the other participant of the call but there is no audio
                                                        of either participant; 10:15 in length; Use of Instant Replay: Save
24.        Desktop 01.10.2018 -            1013         Not CP; Video call between minor female and godot; Minor female is
           12.34.58.63.DVR.mp4                          clothed and sitting in a chair facing the computer; Minor female appears
                                                        to be practicing how to talk dirty and then states "God, it's so weird, I
                                                        don't like it."; Minor female puts on and takes off a bra over and under
                                                        her shirt before removing her shirt and leaving just the bra and asking
                                                        "Am I done now?" and then covering herself up with the shirt; Minor
                                                        female appears to engage in conversation with the other participant of
                                                        the call but there is no audio of the other participant; 10;15 in length;
                                                        Use of Instant Replay: Save
25.        Desktop 01.10.2018 -            1014         Not CP; Video call between minor female and godot; Minor female is
           13.01.02.66.DVR.mp4                          clothed and sitting in a chair facing the computer; Minor female
                                                        changes positions throughout the video but remains clothed; Minor
                                                                                                                     Page 4 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
                  Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 5 of 30 PageID# 1444




Line No.   Name                            FBI Item #   Description
                                                        female appears to engage in conversation with the other participant of
                                                        the call but there is no audio of the other participant; 10:15 in length;
                                                        Use of Instant Replay: Save
26.        Desktop 01.10.2018 -            1015         Not CP; Video call between minor female and godot; Minor female is
           15.31.32.69.DVR.mp4                          clothed and sitting in a chair facing the computer; Minor female appears
                                                        to practice moaning into a microphone; Minor female remains clothed
                                                        throughout the video; Minor female appears to engage in conversation
                                                        with the other participant of the call but there is no audio of the other
                                                        participant; 10:15 in length; Use of Instant Replay: Save
27.        Desktop 01.10.2018 -            1016         Not CP; Video call between minor female and godot; Minor female is
           15.58.59.72.DVR.mp4                          clothed and sitting in a chair facing the computer; Minor female appears
                                                        to practice moaning into a microphone; Minor female says "I feel kinda
                                                        awkward that I just got you off."; Minor female remains clothed
                                                        throughout the video; Minor female appears to engage in conversation
                                                        with the other participant of the call but there is no audio of the other
                                                        participant; 10:15 in length; Use of Instant Replay: Save
28.        Desktop 01.10.2018 -            1017         Not CP; Video call with minor female; Minor female is wearing a bra and
           16.55.37.75.DVR.mp4                          sitting in a chair facing the computer; Minor female appears to practice
                                                        moaning and talking dirty into a microphone for the duration of the
                                                        video; At the end, minor female asks "You done?"; Minor female
                                                        appears to engage in conversation with the other participant of the call
                                                        but there is no audio of the other participant; 10:15 in length; Use of
                                                        Instant Replay: Save

                                                                                                                      Page 5 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
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                  Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 6 of 30 PageID# 1445




Line No.   Name                            FBI Item #   Description
29.        Desktop 01.10.2018 -            1018         Not CP; Video call with minor female; Minor female is wearing a bra and
           16.59.13.78.DVR.mp4                          sitting in a chair facing the computer; Minor female then moves to the
                                                        bed and lies facedown; Minor female remains clothed throughout the
                                                        video; Minor female appears to engage in conversation with the other
                                                        participant of the call but there is no audio of the other participant; 3:34
                                                        in length; Use of Instant Replay: Save
30.        Desktop 01.10.2018 -            1019         Not CP; Appears to be a continuation of Item #1018; Video call between
           17.09.17.81.DVR.mp4                          minor female and godot; Minor female is wearing a bra and shorts and
                                                        kneeling on the bed; Minor female removes her shorts and while still
                                                        wearing underwear lies on the bed under a blanket for the remainder of
                                                        the video; Minor female appears to engage in conversation with the
                                                        other participant of the call but there is no audio of the other
                                                        participant; 10:03 in length; Use of Instant Replay: Save
31.        Desktop 01.10.2018 -            1020         Not CP; Video call with minor female; Minor female is clothed and
           19.23.42.84.DVR.mp4                          sitting in a chair facing the computer; Minor female moans and appears
                                                        to be masturbating, but this is not shown on camera; Minor female says
                                                        "I'm too camera shy for this shit."; Minor female remains clothed
                                                        throughout the video; Minor female appears to engage in conversation
                                                        with the other participant of the call but there is no audio of the other
                                                        participant; 10:15 in length; Use of Instant Replay: Save
32.        Desktop 01.11.2018 -            1021         CP; Video call between minor female and godot; Minor female is
           07.14.07.87.DVR.mp4                          clothed and sitting in a chair facing the computer and appears to be
                                                        masturbating; Minor female begins to fondle her breasts and removes
                                                        her shirt and bra; Minor female appears to engage in conversation with
                                                                                                                    Page 6 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
                  Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 7 of 30 PageID# 1446




Line No.   Name                            FBI Item #   Description
                                                        the other participant of the call but there is no audio of the other
                                                        participant; 10:15 in length; Use of Instant Replay: Save
33.        Desktop 01.11.2018 -            1022         Not CP; Video call with minor female; Minor female is clothed and
           18.31.17.93.DVR.mp4                          sitting in a chair facing the computer; Minor female appears to engage
                                                        in conversation with the other participant of the call but there is no
                                                        audio of either participant; 10:15 in length; Use of Instant Replay: Save
34.        Desktop 01.11.2018 -            1023         Not CP; Video call between minor female and godot; Minor female is
           18.51.11.96.DVR.mp4                          clothed and sitting in a chair facing the computer; Minor female moves
                                                        around the room before sitting on the floor, taking off her shirt, and
                                                        revealing her breasts; Minor female fondles her breasts; Minor female
                                                        returns to the chair; Minor female appears to engage in conversation
                                                        with the other participant of the call but there is no audio of the other
                                                        participant; 10:15 in length; Use of Instant Replay: Save
35.        Desktop 01.11.2018 -            1024         Not CP; Video call of minor female; Minor female is sitting in a chair
           19.05.11.99.DVR.mp4                          facing the computer with her breasts revealed; Minor female moves to
                                                        the floor and takes her shorts off revealing her underwear; 10:15 in
                                                        length; Use of Instant Replay: Save; Music playing in the background
36.        Desktop 01.12.2018 -            1026         Not CP; Video call between minor female and godot; Minor female is
           18.42.52.105.DVR.mp4                         clothed and sitting in a chair facing the computer; Other call participant
                                                        pulls up an image of a penis on the screen; Minor female removes her
                                                        shirt and reveals her breasts which she begins to fondle; Minor female
                                                        appears to masturbate although no genitals are shown in the video;
                                                        Minor female appears to engage in conversation with the other

                                                                                                                      Page 7 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
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                  Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 8 of 30 PageID# 1447




Line No.   Name                            FBI Item #   Description
                                                        participant of the call but there is no audio of either participant; 10:15
                                                        in length; Use of Instant Replay: Save
37.        Desktop 01.12.2018 -            1027         Not CP; Video call between minor female and godot; Minor female is
           18.47.25.108.DVR.mp4                         sitting in a chair facing the computer and has her breasts revealed;
                                                        Minor female appears to masturbate although no genitals are shown in
                                                        the video; Minor female appears to engage in conversation with the
                                                        other participant of the call but there is no audio of either participant;
                                                        4:32 in length; Use of Instant Replay: Save
38.        Desktop 01.12.2018 -            1028         Not CP; Video call between minor female and godot; Minor female is
           19.02.55.111.DVR.mp4                         sitting in a chair facing the computer and has her breasts revealed;
                                                        Minor female moves to the bed while the other participant of the call
                                                        switches through various screens; Minor female appears to engage in
                                                        conversation with the other participant of the call but there is no audio
                                                        of either participant; 10:15 in length; Use of Instant Replay: Save
39.        Desktop 01.14.2018 -            1029         CP; Count 1; Minor female is naked in chair facing computer while
           16.07.07.127.DVR.mp4                         masturbating and fondling her breasts; Minor female gets up from chair
                                                        and goes to the bed; Minor female gets on hands and knees on the bed
                                                        facing the wall and the camera view is displaying her genitals from
                                                        behind; 3:44 in length; Use of Instant Replay: Save; Music playing in
                                                        background
40.        Desktop 01.14.2018 -            1030         CP; Count 2; Appears to be a continuation of Item #1029; Minor female
           16.12.56.130.DVR.mp4                         is naked on hands and knees on the bed facing the wall and the camera
                                                        view is displaying her genitals from behind; Minor female is

                                                                                                                       Page 8 of 30
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      United States v. Troy Skinner, 3:19-cr-19-MHL
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                  Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 9 of 30 PageID# 1448




Line No.   Name                            FBI Item #   Description
                                                        masturbating for the approximately 5 minutes in the same position;
                                                        5:48 in length; Use of Instant Replay: Save; Music playing in background;
                                                        No view of genitals
41.        Desktop 01.14.2018 -            1031         Not CP; Minor female is naked in chair facing computer and appears to
           20.10.35.133.DVR.mp4                         be masturbating; Minor female fondles her breast throughout the
                                                        video; 10:15 in length; Use of Instant Replay: Save; Music playing in
                                                        background; No view of genitals
42.        Desktop 01.14.2018 -            1032         Not CP; Minor female is naked in chair facing computer and appears to
           20.25.27.136.DVR.mp4                         be masturbating; Minor female fondles her breast throughout the
                                                        video; Video switches view on screen to Windows Photo Viewer image
                                                        of a penis; 10:15 in length; Use of Instant Replay: Save; Music playing in
                                                        background; No view of genitals
43.        Desktop 01.14.2018 -            1033         CP; Count 3; Minor female is naked in chair facing computer and
           20.52.06.139.DVR.mp4                         appears to be masturbating; At approximately 9:40 minor female
                                                        adjusts camera to give view of genitals and continues to masturbate;
                                                        10:15 in length; Use of Instant Replay: Save; Music playing in
                                                        background
44.        Desktop 01.14.2018 -            1034         CP; Appears to be a continuation of Item #1033; Minor female is naked
           21.05.01.142.DVR.mp4                         in chair facing computer while masturbating for the duration of the
                                                        video; 10:15 in length; Use of Instant Replay: Save; Music playing in
                                                        background
45.        Desktop 01.14.2018 -            1035         CP; Appears to be a continuation of Item #1034; Minor female is naked
           21.17.11.145.DVR.mp4                         in chair facing computer while masturbating; At approximately 4:00
                                                                                                                      Page 9 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
               Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 10 of 30 PageID# 1449




Line No.   Name                            FBI Item #   Description
                                                        minor female adjusts the camera away from view of genitals; Minor
                                                        female remains naked for the duration of the video and appears to be
                                                        engaged in conversation with the other participant of the call; No voices
                                                        are heard; 10:15 in length; Use of Instant Replay: Save; Music playing in
                                                        background
46.        Desktop 01.16.2018 -            1036         CP; Minor female is initially clothed and appears to be engaging in
           00.03.48.153.DVR.mp4                         conversation with the other participant of the call; Minor female initially
                                                        walks around the room before sitting in a chair facing the computer; At
                                                        approximately 3:21 minor female lowers top and begins fondling her
                                                        breasts; At approximately 4:00 minor female lifts skirt and her genitals
                                                        are displayed to the camera; At approximately 4:20 minor female begins
                                                        masturbating; At approximately 8:10 minor female puts her clothing
                                                        back in place; Minor female appears to be engaged in conversation with
                                                        the other participant of the call; Minor females voice is heard; 9:27 in
                                                        length; Use of Instant Replay: Save
47.        Desktop 01.16.2018 -            1403         Appears to be a duplicate of Item #1036
           00.03.48.153.DVR.mp4
48.        Desktop 01.16.2018 -            1037         Not CP; Other participant of the call looks up images of Wednesday
           12.52.53.156.DVR.mp4                         Addams; Minor female comes on screen wearing what appears to be an
                                                        outfit attempting to match Wednesday Addams' wardrobe; Minor
                                                        female says "Is this like fucking good enough?" followed by "Oh
                                                        Wednesday Addams turns you on? Good to know."; Minor female sits in
                                                        a chair facing the computer and continues to engage in conversation
                                                        with the other participant of the call; Minor says "Scoot back a little?"
                                                                                                                     Page 10 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
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               Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 11 of 30 PageID# 1450




Line No.   Name                            FBI Item #   Description
                                                        before proceeding to move the chair back so her full body is in view;
                                                        Minor female leaves room to try and find heels; 10:15 in length; Use of
                                                        Instant Replay: Save
49.        Desktop 01.16.2018 -            1404         Appears to be a duplicate of Item #1037
           12.52.53.156.DVR.mp4
50.        Desktop 01.16.2018 -            1038         Not CP; Appears to be a continuation of Item #1037; Minor female is
           13.03.15.159.DVR.mp4                         clothed in the same outfit as in Item #1037 and returns to the room
                                                        with heels; At approximately 00:53, the screen shows a Discord
                                                        conversation between godot and Jenga in which godot has sent an
                                                        image to Jenga of a female who appears to be Wednesday Addams;
                                                        Minor female sits in the chair facing the computer and puts on the
                                                        heels; Minor female leaves the chair and returns wearing a one-piece
                                                        swimsuit; 10:15 in length; Use of Instant Replay: Save; Music playing in
                                                        background - no voices heard
51.        Desktop 01.16.2018 -            1405         Appears to be a duplicate of Item #1038
           13.03.15.159.DVR.mp4
52.        Desktop 01.16.2018 -            1039         CP; Appears to be a continuation of Item #1038; Minor female is
           13.19.02.162.DVR.mp4                         wearing the same one-piece swimsuit from Item #1038; Minor female is
                                                        kneeling on the bed with the swimsuit top pulled down and fondling her
                                                        breasts; Minor female also appears to be masturbating; At
                                                        approximately 00:51, minor female gets on her hands and knees on the
                                                        bed facing the wall and the camera view is displaying her genital area
                                                        from behind although she is still wearing the swimsuit; Minor female

                                                                                                                    Page 11 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
               Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 12 of 30 PageID# 1451




Line No.   Name                            FBI Item #   Description
                                                        pulls the swimsuit aside and continues to masturbate within the camera
                                                        view; At approximately 2:30, minor female leaves the bed, returns to
                                                        the chair facing the computer, and puts her swimsuit back up before
                                                        briefly before continuing to fondle her breasts; At approximately 3:40,
                                                        minor female removes the swimsuit entirely and begins to masturbate
                                                        with her genitals in view of the camera; Minor female walks to the bed,
                                                        locates a bra, leaves the camera view, and returns to the chair facing
                                                        the computer wearing the bra only; Minor female begins to masturbate
                                                        with her genitals in view of the camera; 10:15 in length; Use of Instant
                                                        Replay: Save; Minor female appears to be engaged in conversation
                                                        throughout the video with the other participant of the call although no
                                                        voices are heard and music is playing in the background
53.        Desktop 01.16.2018 -            1406         Appears to be a duplicate of Item #1039
           13.19.02.162.DVR.mp4
54.        Desktop 01.17.2018 -            1040         CP; Minor female is naked lying on the bed within view of the camera
           16.35.14.165.DVR.mp4                         and appears to be masturbating; At approximately 3:00, minor female
                                                        walks over and sits in a chair facing the camera and begins to fondle her
                                                        breasts and masturbate with her genitals in view of the camera; At
                                                        approximately 3:30, minor female adjusts camera to a better view of
                                                        her genitals and continues to masturbate; At approximately 9:45, minor
                                                        female adjusts the camera back to its original position and leaves the
                                                        view of the camera; At approximately 10:07, minor female lies face
                                                        down on her bed while still naked; 10:15 in length; Use of Instant
                                                        Replay: Save; Minor female appears to be engaged in conversation at

                                                                                                                    Page 12 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
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               Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 13 of 30 PageID# 1452




Line No.   Name                            FBI Item #   Description
                                                        various points in the video with the other participant of the call
                                                        although no voices are heard
55.        Desktop 01.17.2018 -            1407         Appears to be a duplicate of Item #1040
           16.35.14.165.DVR.mp4
56.        Desktop 01.17.2018 -            1041         CP; Video begins with a Discord display at the bottom of the screen
           21.33.27.168.DVR.mp4                         showing a conversation between godot and Jenga in which a picture
                                                        that appears to show the minor females' genitals has been shared by
                                                        one of the parties to the conversation and at the top of the screen
                                                        shows a video feed of the minor female lying naked in bed; At
                                                        approximately 1:10, the other participant of the call navigates to a
                                                        folder containing numerous videos of the minor female; At
                                                        approximately 5:20, the naked minor female gets out of bed and sits in
                                                        the chair facing the computer before adjusting the camera view to show
                                                        her genitals and beginning to masturbate; 10:15 in length; Use of
                                                        Instant Replay: Save; Minor female appears to be engaged in
                                                        conversation at various points in the video with the other participant of
                                                        the call although no voices are heard
57.        Desktop 01.17.2018 -            1408         Appears to be a duplicate of Item #1041
           21.33.27.168.DVR.mp4
58.        Desktop 01.18.2018 -            1042         CP; Video begins with minor female wearing a dress, sitting on her bed,
           18.07.55.171.DVR.mp4                         facing the camera with a view of her genitals on display, fondling her
                                                        breast, and masturbating; At approximately 1:35, minor female moves
                                                        to the chair facing the computer and begins masturbating with her

                                                                                                                     Page 13 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
               Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 14 of 30 PageID# 1453




Line No.   Name                            FBI Item #   Description
                                                        genitals in view of the camera; Minor female masturbates for the
                                                        duration of the video; 10:15 in length; Use of Instant Replay: Save;
                                                        Minor female appears to be engaged in conversation at various points in
                                                        the video with the other participant of the call although no voices are
                                                        heard
59.        Desktop 01.18.2018 -            1409         Appears to be a duplicate of Item #1042
           18.07.55.171.DVR.mp4
60.        Desktop 01.18.2018 -            1043         CP; Minor female is wearing a black dress with the top pulled down and
           18.13.42.174.DVR.mp4                         headphones, sitting in a chair facing the computer with her genitals in
                                                        view of the camera and masturbating; Minor female stands up, pulls the
                                                        chair closer to the computer, says "I'll get a little closer for you," and
                                                        adjusts the camera downward, before sitting in the chair and starting to
                                                        masturbate again; At approximately 4:20, the minor female begins to
                                                        engage in conversation with the other participant of the call although
                                                        only the minor female can be heard; At approximately 4:57, the minor
                                                        female responds to whatever was said with "I don't want to."; At
                                                        approximately 5:17, the minor female responds to whatever was said
                                                        with "I'm too shy for this."; At approximately 5:40, the minor female
                                                        removes her dress and walks toward the bed; 5:45 in length; Use of
                                                        Instant Replay: Save
61.        Desktop 01.18.2018 -            1410         Appears to be a duplicate of Item #1043
           18.13.42.174.DVR.mp4



                                                                                                                    Page 14 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
               Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 15 of 30 PageID# 1454




Line No.   Name                            FBI Item #   Description
62.        Desktop 01.19.2018 -            1411         CP; Minor female is naked sitting in a chair facing the computer with her
           19.38.01.182.DVR.mp4                         genitals in view and masturbating; 00:10 in length; Use of Instant
                                                        Replay: Save; Minor female can be heard speaking briefly and music is
                                                        playing in the background
63.        Desktop 01.19.2018 -            1412         CP; Minor female is naked sitting in a chair facing the computer with her
           19.43.40.185.DVR.mp4                         genitals in view and masturbating for the duration of the video; 5:38 in
                                                        length; Use of Instant Replay: Save; Minor female can be heard speaking
                                                        briefly and appears to be in conversation at various points with the
                                                        other participant of the call
64.        Desktop 01.19.2018 -            1413         CP; Minor female is naked sitting in a chair facing the computer with her
           19.51.09.188.DVR.mp4                         genitals in view and masturbating for the duration of the video; 7:27 in
                                                        length; Use of Instant Replay: Save; Minor female can be heard speaking
                                                        and appears to be in conversation at various points with the other
                                                        participant of the call
65.        Desktop 01.20.2018 -            1414         CP; Minor female is naked sitting in a chair facing the computer with her
           16.32.50.193.DVR.mp4                         genitals in view and masturbating for the duration of the video; 00:11 in
                                                        length; Use of Instant Replay: Save; Minor female can be heard speaking
                                                        and appears to be responding to the other participant of the call
66.        Desktop 01.20.2018 -            1415         CP; Minor female is naked sitting in a chair facing the computer with her
           16.50.47.196.DVR.mp4                         genitals in view and masturbating; Minor female stops masturbating to
                                                        respond to the other participant of the call and to adjust the sensitivity
                                                        on the computer to the other participant's specifications; Minor female


                                                                                                                    Page 15 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
               Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 16 of 30 PageID# 1455




Line No.   Name                            FBI Item #   Description
                                                        begins masturbating again for the duration of the video; 10:15 in length;
                                                        Use of Instant Replay: Save
67.        Desktop 01.26.2018 -            1416         Not CP; Video of the user of the computer photoshopping a
           11.59.05.223.DVR.mp4                         pornographic anime image; Minor female can be heard speaking and it
                                                        appears the minor female is in a video call and having a conversation
                                                        with the user of the computer, but this is not shown and the voice of
                                                        the user of the computer is not heard; 10:15 in length; Use of Instant
                                                        Replay: Save
68.        Desktop 01.26.2018 -            1417         CP; Video begins with the user of the computer looking through various
           14.16.19.226.DVR.mp4                         files on the computer while the minor female can be heard in the
                                                        background; At approximately 2:10, the user of the computer switches
                                                        to a video of the minor female naked sitting in a chair facing the
                                                        computer with her genitals in view and masturbating; At approximately
                                                        6:00, the user of the computer switches back to looking through various
                                                        files on the computer while the minor female can be heard in the
                                                        background; 10:15 in length; Use of Instant Replay: Save
69.        Desktop 01.26.2018 -            1418         CP; Video begins with the user of the computer looking through various
           16.39.37.229.DVR.mp4                         files on the computer while the minor female can be heard in the
                                                        background; At approximately 3:54, the user of the computer switches
                                                        to a video of the minor female naked sitting in a chair facing the
                                                        computer and masturbating and fondling her breasts, although there is
                                                        no view of her genitals; At approximately 6:10, the minor female stops
                                                        masturbating and says "I need to shave." before reaching up, adjusting
                                                        the camera downward, returning to the chair, and saying "I need to
                                                                                                                   Page 16 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
               Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 17 of 30 PageID# 1456




Line No.   Name                            FBI Item #   Description
                                                        scooch out for this."; Minor female begins masturbating again with the
                                                        camera having a view of her genitals; 10:15 in length; Use of Instant
                                                        Replay: Save; Minor female appears to be engaged in conversation with
                                                        the other participant of the call at various times throughout the video
70.        Desktop 01.26.2018 -            1419         Not CP; Minor female and drifter in lax#6615 are in a Discord video
           19.57.59.232.DVR.mp4                         session; The user of the computer is searching Goochland, Virginia, on
                                                        familywatchdog.us, which appears to show the location of individuals
                                                        engaged in sexual offenses against children; This type of internet
                                                        searching continues for the duration of the video: 10:15 in length; Use
                                                        of Instant Replay: Save; No audio
71.        Desktop 01.26.2018 -            1420         CP; Minor female is clothed and sitting in a chair facing the computer;
           23.22.27.237.DVR.mp4                         Minor female begins fondling her breast and at approximately 1:10
                                                        removes her shirt and continues fondling her breasts; At approximately
                                                        3:15, the minor female puts her hand in her pants and begins
                                                        masturbating; At approximately 4:15, the minor female removes her
                                                        pants and underwear, and begins masturbating with her genitals in view
                                                        of the camera; At approximately 6:45, minor female asks "That's your
                                                        kink? Me putting my hair back?"; Minor female continues to masturbate
                                                        with her genitals in view of the camera for the duration of the video;
                                                        10:15 in length; Use of Instant Replay: Save; Minor female appears to
                                                        engage in conversation with the other participant of the call throughout
                                                        the entirety of the video although there is no audio of the other
                                                        participant


                                                                                                                   Page 17 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
               Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 18 of 30 PageID# 1457




Line No.   Name                            FBI Item #   Description
72.        Desktop 01.26.2018 -            1421         CP; Minor female is naked sitting in a chair in front of the computer with
           23.47.31.240.DVR.mp4                         her genitals in view of the camera and masturbating; At approximately
                                                        3:30, the minor female stands up, adjusts the camera to focus on the
                                                        bed, moves the chair out of the way, and then gets on the bed on her
                                                        hands and knees facing the wall and the camera view is displaying her
                                                        genitals from behind; The minor female masturbates in this position for
                                                        the duration of the video; 10:15 in length; Use of Instant Replay: Save;
                                                        Initially there is no audio but then music plays in the background; Minor
                                                        female appears to engage in conversation with the other participant of
                                                        the call at various points throughout the video although there is no
                                                        audio of any conversation
73.        Desktop 01.28.2018 -            1426         CP; The user of the computer is switching between multiple screens on
           19.26.14.258.DVR.mp4                         the computer, including a video call in Discord between drifter in
                                                        lax#6615 and Jenga, the minor female; At approximately 4:44, the minor
                                                        female removes her shirt and begins to fondle her breasts; At
                                                        approximately 5:20, the minor female goes to the bed and gets on her
                                                        hands and knees facing the wall and begins masturbating through her
                                                        underwear; At approximately 7:06, the minor female removes her
                                                        underwear and the camera view is of her genitals from behind; The
                                                        minor female begins masturbating again; 10:15 in length; Use of Instant
                                                        Replay: Save; Minor female appears to engage in conversation with the
                                                        other participant of the call but there is no audio of the other
                                                        participant


                                                                                                                    Page 18 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
                Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 19 of 30 PageID# 1458




Line No.   Name                            FBI Item #   Description
74.        Desktop 01.28.2018 -            1427         CP; Appears to be a continuation of Item #1426; The minor female is on
           19.37.51.261.DVR.mp4                         the bed on her hands and knees facing the wall masturbating and the
                                                        camera view is of her genitals; At approximately 8:20, the minor female
                                                        lies down on her back and continues masturbating for a time before
                                                        making her way back to the computer and then out of view of the
                                                        camera; 10:15 in length; Use of Instant Replay: Save; Minor female
                                                        appears to engage in conversation with the other participant of the call
                                                        but there is no audio of the other participant
75.        Desktop 01.29.2018 -            1429         Not CP; The user of the computer is switching between multiple screens
           21.29.54.08.DVR.mp4                          on the computer; The minor female can be heard speaking in the
                                                        background for the duration of the video and appears to be responding
                                                        to someone speaking, although that voice is never heard; 10:15 in
                                                        length; Use of Instant Replay: Save
76.        Desktop 01.29.2018 -            1430         Not CP; The user of the computer is switching between multiple screens
           21.37.03.11.DVR.mp4                          on the computer; The minor female can be heard in the background for
                                                        the duration of the video and appears to be responding to someone
                                                        speaking, although that voice is never heard; 7:08 in length; Use of
                                                        Instant Replay: Save
77.        Desktop 01.29.2018 -            1431         Not CP; The user of the computer is switching between multiple screens
           22.10.49.14.DVR.mp4                          on the computer, including a folder containing thumbnail images of
                                                        videos of the minor female; The minor female can be heard in the
                                                        background for the duration of the video and appears to be responding


                                                                                                                   Page 19 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
                Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 20 of 30 PageID# 1459




Line No.   Name                            FBI Item #   Description
                                                        to someone speaking, although that voice is never heard; 10:15 in
                                                        length; Use of Instant Replay: Save
78.        Desktop 01.30.2018 -            1432         CP; The user of the computer is playing World of Warcraft; The minor
           18.46.26.17.DVR.mp4                          female can be heard speaking in the background of the video; At
                                                        approximately 1:10, the minor female asks "You want me to turn my
                                                        camera on?"; At approximately 2:10, the user of the computer switches
                                                        screens to a Discord video call in which the minor female is naked on
                                                        the bed and masturbating, and the camera has a view of her genitals;
                                                        10:15 in length; Use of Instant Replay: Save; Minor female appears to
                                                        engage in conversation with the other participant of the call but there is
                                                        no audio of the other participant
79.        Desktop 01.30.2018 -            1433         Not CP; The user of the computer has Twitter open; The minor female
           23.29.48.23.DVR.mp4                          can be heard in the background throughout the video and can be heard
                                                        saying at least twice "God you sound so hot."; The minor female
                                                        appears to be responding to someone speaking, although that voice is
                                                        never heard; 6:59 in length; Use of Instant Replay: Save
80.        Desktop 01.30.2018 -            1434         CP; Appears to be a continuation of Item #1433; The user of the
           23.40.23.26.DVR.mp4                          computer has Twitter open; The minor female can be heard in the
                                                        background of the video; At approximately 6:50, the user of the
                                                        computer opens a video file of the minor female naked on the bed
                                                        masturbating with the camera having a view of her genitals; 10:15 in
                                                        length



                                                                                                                    Page 20 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
                Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 21 of 30 PageID# 1460




Line No.   Name                            FBI Item #   Description
81.        Desktop 01.30.2018 -            1435         Not CP; Appears to be a continuation of Item #1434; The user of the
           23.50.10.29.DVR.mp4                          computer has a video file open showing the minor female naked getting
                                                        off the bed; The minor female can be heard in the background of the
                                                        video and also appears to be responding to someone speaking, although
                                                        that voice is never heard; 9:47 in length; Use of Instant Replay: Save
82.        Desktop 01.30.2018 -            1436         Not CP; Appears to be a continuation of Item #1435; The user of the
           23.55.55.32.DVR.mp4                          computer has multiple windows open on the computer desktop; The
                                                        minor female can be heard in the background of the video and also
                                                        appears to be responding to someone speaking, although that voice is
                                                        never heard; 5:43 in length; Use of Instant Replay: Save
83.        Desktop 01.31.2018 -            1437         CP; The minor female is naked on the bed and masturbating; At
           21.36.05.35.DVR.mp4                          approximately 2:45, the minor victim gets off the bed and walks over to
                                                        the computer before returning to the bed and getting on her hands and
                                                        knees facing the wall with the camera view of her genitals; Minor
                                                        female begins to masturbate; At approximately 7:40, the minor female
                                                        lies down on the bed and continues to masturbate; 10:15 in length; Use
                                                        of Instant Replay: Save; No audio
84.        Desktop 01.31.2018 -            1438         No CP; Appears to be a continuation of Item #1437; Minor female is
           21.44.02.38.DVR.mp4                          naked lying on the bed; The minor female appears to be engaged in
                                                        conversation with the other participant of the call, although that voice is
                                                        never heard; 7:56 in length; Use of Instant Replay: Save; There is no
                                                        displaying of the genitals within the camera view


                                                                                                                     Page 21 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
                Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 22 of 30 PageID# 1461




Line No.   Name                            FBI Item #   Description
85.        Desktop 01.31.2018 -            1439         CP; Minor female is naked lying on the bed and masturbating; The minor
           21.57.43.41.DVR.mp4                          female appears to be engaged in conversation with the other
                                                        participant of the call, although that voice is never heard; 10:15 in
                                                        length; Use of Instant Replay: Save; There is no displaying of the genitals
                                                        within the camera view
86.        Desktop 01.31.2018 -            1440         CP; Minor female is naked lying on the bed and masturbating; The minor
           22.21.58.44.DVR.mp4                          female appears to be engaged in conversation with the other
                                                        participant of the call, although that voice is never heard; 10:15 in
                                                        length; Use of Instant Replay: Save; There is no displaying of the genitals
                                                        within the camera view
87.        Desktop 01.31.2018 -            1441         CP; Minor female is naked sitting on the bed; At approximately 1:40, the
           22.35.19.47.DVR.mp4                          minor female gets on her hands and knees on the bed facing the wall
                                                        and the camera view is of her genitals from behind; Minor female
                                                        masturbates while in this position for a majority of the video; 10:15 in
                                                        length; Use of Instant Replay: Save; The minor female appears to be
                                                        engaged in conversation with the other participant of the call, although
                                                        that voice is never heard
88.        Desktop 01.31.2018 -            1442         CP; Minor female is naked on the bed on her hands and knees facing the
           22.40.01.50.DVR.mp4                          wall with the camera view of her genitals from behind and
                                                        masturbating; 4:40 in length; Use of Instant Replay: Save; The minor
                                                        female appears to be engaged in conversation with the other
                                                        participant of the call, although that voice is never heard


                                                                                                                     Page 22 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
                Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 23 of 30 PageID# 1462




Line No.   Name                            FBI Item #   Description
89.        Desktop 01.31.2018 -            1443         CP; Minor female is naked on the bed on her hands and knees facing the
           22.53.59.53.DVR.mp4                          wall with the camera view of her genitals from behind and
                                                        masturbating; At approximately 2:00, the minor female lies down on her
                                                        back with the camera view of her genitals and continues masturbating
                                                        in this position for the duration of the video; 10:15 in length; Use of
                                                        Instant Replay: Save; The minor female appears to be engaged in
                                                        conversation with the other participant of the call, although that voice is
                                                        never heard
90.        Desktop 01.31.2018 -            1444         CP; Minor female is naked lying on the bed with the camera view of her
           23.11.42.56.DVR.mp4                          genitals and masturbating; Minor female continues masturbating in this
                                                        position for the duration of the video; 10:15 in length; Use of Instant
                                                        Replay: Save; The minor female appears to be engaged in conversation
                                                        with the other participant of the call, although that voice is never heard
91.        Desktop 01.31.2018 -            1445         CP; Minor female is naked lying on the bed with the camera view of her
           23.23.47.59.DVR.mp4                          genitals and masturbating; Minor female continues masturbating in this
                                                        position until she gets up to remove the cat from her room; 10:15 in
                                                        length; Use of Instant Replay: Save; The minor female appears to be
                                                        engaged in conversation with the other participant of the call, although
                                                        that voice is never heard
92.        Desktop 01.31.2018 -            1446         CP; Video call between minor female and godot; Minor female is naked
           23.32.49.62.DVR.mp4                          lying on the bed with the camera view of her genitals and masturbating;
                                                        Minor female appears to engage in conversation with the other


                                                                                                                     Page 23 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
                Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 24 of 30 PageID# 1463




Line No.   Name                            FBI Item #   Description
                                                        participant of the call but there is no audio of the other participant; 9:01
                                                        in length; Use of Instant Replay: Save
93.        Desktop 02.01.2018 -            1447         CP; Video call between minor female and godot; Minor female is naked
           19.07.42.65.DVR.mp4                          lying on the bed with the camera view of her genitals and masturbating
                                                        for the duration of the video; Minor female appears to engage in
                                                        conversation with the other participant of the call but there is no audio
                                                        of the other participant; 10:15 in length; Use of Instant Replay: Save
94.        Desktop 02.04.2018 -            1448         CP; Video with the minor female on her hands and knees on the bed
           03.16.22.83.DVR.mp4                          with the camera view of her genitals and masturbating; Minor female
                                                        appears to have her finger in her anus; Minor female appears to engage
                                                        in conversation with the other participant of the call but there is no
                                                        audio of the other participant; 5:39 in length; Use of Instant Replay:
                                                        Save
95.        Desktop 02.04.2018 -            1449         Not CP; Video of the user of the computer playing World of Warcraft;
           21.36.44.88.DVR.mp4                          Minor female can be heard in the background; 10:15 in length; Use of
                                                        Instant Replay: Save
96.        Desktop 02.06.2018 -            1044         CP; Video with the minor female on her hands and knees on the bed
           03.16.13.100.DVR.mp4                         with the camera view of her genitals and masturbating; Minor female
                                                        turns over and lies on her back with the camera view of her genitals and
                                                        masturbates; Minor female appears to engage in conversation with the
                                                        other participant of the call but there is no audio of the other
                                                        participant; 6:00 in length; Use of Instant Replay: Save


                                                                                                                      Page 24 of 30
      Exhibit 1, Government’s Sentencing Position
      United States v. Troy Skinner, 3:19-cr-19-MHL
      Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
               Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 25 of 30 PageID# 1464




Line No.   Name                             FBI Item #   Description
97.        Desktop 02.06.2018 -             1501         Appears to be a duplicate of Item #1044
           03.16.13.100.DVR.mp4
98.        Desktop 02.06.2018 -             1045         CP; Video with the minor female lying on the bed on her back with the
           03.24.27.103.DVR.mp4                          camera view of her genitals and masturbating for the duration of the
                                                         video; Minor female appears to engage in conversation with the other
                                                         participant of the call but there is no audio of the other participant; 8:13
                                                         in length; Use of Instant Replay: Save
99.        Desktop 02.06.2018 -             1502         Appears to be a duplicate of Item #1045
           03.24.27.103.DVR.mp4
100.       Desktop 02.09.2018 -             1503         Possible CP (close call); Voice call between minor female and godot that
           03.14.44.111.DVR.mp4                          transitions to a video call; Minor female is clothed and sitting in a chair
                                                         facing the computer; Minor female removes all of her clothing and
                                                         appears to begin masturbating although there is no camera view of her
                                                         genitals but minor girl's arm is visible down to the wrist and the top of
                                                         the back of the hand (but not the fingers); Minor female appears to
                                                         engage in conversation with the other participant of the call but there is
                                                         no audio of either participant; 10:15 in length; Use of Instant Replay:
                                                         Save
101.       Desktop 02.09.2018 -             1504         CP; Video call between the minor female and godot; Minor female is
           03.33.05.114.DVR.mp4                          naked sitting in a chair facing the computer with the camera view of her
                                                         genitals and masturbating; Minor female moves to the bed and lies
                                                         down on her back; Minor female gets on her hands and knees facing the
                                                         wall with the camera view of her genitals from behind and masturbates;

                                                                                                                       Page 25 of 30
       Exhibit 1, Government’s Sentencing Position
       United States v. Troy Skinner, 3:19-cr-19-MHL
       Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
               Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 26 of 30 PageID# 1465




Line No.   Name                             FBI Item #   Description
                                                         Minor females lies on her back with the camera view of her genitals and
                                                         masturbates; Minor female appears to engage in conversation with the
                                                         other participant of the call but there is no audio of the other
                                                         participant; 10:15 in length; Use of Instant Replay: Save
102.       Desktop 02.09.2018 -             1505         CP; Video call between the minor female and godot; Minor female is
           03.40.23.117.DVR.mp4                          naked lying on the bed and masturbating with the camera view of her
                                                         genitals; Minor female appears to engage in conversation with the other
                                                         participant of the call but there is no audio of the other participant; 7:16
                                                         in length; Use of Instant Replay: Save
103.       Desktop 02.09.2018 -             1506          CP; Video call with the minor female; Minor female is naked lying on
           03.45.26.120.DVR.mp4                          the bed and masturbating for the duration of the video; There is no
                                                         camera view of the genitals; Minor female appears to engage in
                                                         conversation with the other participant of the call but there is no audio
                                                         of the other participant; 5:02 in length; Use of Instant Replay: Save
104.       Desktop 02.09.2018 -             1507          CP; Video call with the minor female; Minor female is naked lying on
           03.51.03.123.DVR.mp4                          the bed and masturbating for the duration of the video; There is no
                                                         camera view of the genitals; 5:36 in length; Use of Instant Replay: Save
105.       Desktop 02.09.2018 -             1508          CP; Video call with the minor female; Minor female is naked lying on
           04.10.42.126.DVR.mp4                          the bed and masturbating for the duration of the video; There is no
                                                         camera view of the genitals; 10:15 in length; Use of Instant Replay: Save
106.       Desktop 02.09.2018 -             1509         Not CP; Voice call with the minor female; Minor female appears to
           15.23.33.129.DVR.mp4                          engage in conversation with the other participant of the call but there is


                                                                                                                      Page 26 of 30
       Exhibit 1, Government’s Sentencing Position
       United States v. Troy Skinner, 3:19-cr-19-MHL
       Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
                Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 27 of 30 PageID# 1466




Line No.   Name                             FBI Item #   Description
                                                         no audio of the other participant; 10:15 in length; Use of Instant Replay:
                                                         Save
107.       Desktop 02.09.2018 -             1510         Not CP; Voice call with the minor female; Minor female appears to
           15.42.16.132.DVR.mp4                          engage in conversation with the other participant of the call but there is
                                                         no audio of the other participant; 10:15 in length; Use of Instant Replay:
                                                         Save
108.       Desktop 02.10.2018 -             1511         Not CP; Voice call with the minor female while the user of the computer
           07.20.43.135.DVR.mp4                          plays World of Warcraft; Minor female appears to engage in
                                                         conversation with the other participant of the call but there is no audio
                                                         of the other participant; 10:15 in length; Use of Instant Replay: Save
109.       Sony Vegas Pro 01.11.2018 -      1047         Not CP; Video call with the minor female; Minor female is clothed sitting
           16.51.57.90.DVR.mp4                           on the bed; Minor female appears to engage in conversation with the
                                                         other participant of the call but there is no audio of either participant;
                                                         10:15 in length; Use of Instant Replay: Save
110.       Sony Vegas Pro 01.11.2018 -      1512         Appears to be a duplicate of Item #1047
           16.51.57.90.DVR.mp4
111.       Sony Vegas Pro 01.27.2018 -      1103         Not CP; Voice call with the minor female; Minor female can be heard in
           23.32.33.249.DVR.mp4                          the background but there is no audio of any other participant; 10:15 in
                                                         length; Use of Instant Replay: Save
112.       Warcraft III 01.26.2018 -        1254         Not CP; Video of various screens and user of the computer
           11.41.35.220.DVR.mp4                          photoshopping an image; No audio; 10:15 in length; Use of Instant
                                                         Replay: Save

                                                                                                                     Page 27 of 30
       Exhibit 1, Government’s Sentencing Position
       United States v. Troy Skinner, 3:19-cr-19-MHL
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                Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 28 of 30 PageID# 1467




Line No.   Name                             FBI Item #   Description
113.       World Of Warcraft 02.01.2018 -   1354         CP; Video call with the minor female; Minor female is naked lying on the
           19.13.45.68.DVR.mp4                           bed with a camera view of her genitals and masturbating for the
                                                         duration of the video; Minor female appears to engage in conversation
                                                         with the other participant of the call but there is no audio of either
                                                         participant; 10:15 in length; Use of Instant Replay: Save
114.       World Of Warcraft 02.01.2018 -   1355         CP; Video call with the minor female; Minor female is naked lying on the
           19.25.49.71.DVR.mp4                           bed with a camera view of her genitals and masturbating for the
                                                         duration of the video; Minor female appears to engage in conversation
                                                         with the other participant of the call but there is no audio of either
                                                         participant; 10:15 in length; Use of Instant Replay: Save
115.       World Of Warcraft 02.01.2018 -   1356         CP; Video call with the minor female; Minor female is naked lying on the
           19.34.37.74.DVR.mp4                           bed and masturbating; There is no camera view of her genitals; Minor
                                                         female appears to engage in conversation with the other participant of
                                                         the call but there is no audio of the other participant; 8:47 in length;
                                                         Use of Instant Replay: Save
116.       World Of Warcraft 02.01.2018 -   1357          CP; Video call with the minor female; Minor female is naked lying on
           19.44.24.77.DVR.mp4                           the bed and masturbating for the duration of the video; There is no
                                                         camera view of the genitals; 9:47 in length; Use of Instant Replay: Save
117.       World Of Warcraft 02.04.2018 -   1358         CP; Minor female is on her hands and knees on the bed facing the wall
           03.10.42.80.DVR.mp4                           with a camera view of her genitals from behind; Minor female moves to
                                                         the chair by the computer with a camera view of her genitals from
                                                         behind and appears to put her finger in her anus; Minor victim returns
                                                         to the bed on her hands and knees facing the wall with a camera view of

                                                                                                                     Page 28 of 30
       Exhibit 1, Government’s Sentencing Position
       United States v. Troy Skinner, 3:19-cr-19-MHL
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                Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 29 of 30 PageID# 1468




Line No.   Name                             FBI Item #   Description
                                                         her genitals from behind and masturbates and appears to put her finger
                                                         in her anus; Minor female appears to engage in conversation with the
                                                         other participant of the call but there is no audio of the other
                                                         participant; 10:15 in length; Use of Instant Replay: Save
118.       World Of Warcraft 02.05.2018 -   1359         Not CP; Video call between minor female and godot; Minor female is
           03.38.17.91.DVR.mp4                           clothed sitting in a chair facing the computer; Minor female removes
                                                         her shirt and shorts, leaving her breasts exposed; Minor female fondles
                                                         her breasts while holding her mouth open; Minor female appears to
                                                         engage in conversation with the other participant of the call but there is
                                                         no audio of the other participant; 10:15 in length; Use of Instant Replay:
                                                         Save
119.       World Of Warcraft 02.06.2018 -   1360         CP; Video call with the minor female; Minor female is on the bed with
           03.10.12.97.DVR.mp4                           her breasts exposed and wearing underwear; Minor female removes her
                                                         underwear and is on her hands and knees facing the wall with the
                                                         camera view of her genitals masturbating; Minor female appears to
                                                         engage in conversation with the other participant of the call but there is
                                                         no audio of the other participant; 10:15 in length; Use of Instant Replay:
                                                         Save
120.       World Of Warcraft 02.10.2018 -   1361         Not CP; Voice call with the minor female; Minor female can be heard in
           07.24.53.138.DVR.mp4                          the background but there is no audio of any other participant; User of
                                                         the computer appears to be playing World of Warcraft; 4:09 in length




                                                                                                                     Page 29 of 30
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       United States v. Troy Skinner, 3:19-cr-19-MHL
       Note: Video files denoted with red fill depict child pornography as defined in 18 U.S.C. § 2256(8)
                Case 3:19-cr-00019-MHL Document 150-1 Filed 02/01/22 Page 30 of 30 PageID# 1469




Line No.   Name                             FBI Item #   Description
121.       World Of Warcraft 02.10.2018 -   1362         Not CP; Voice call with the minor female; Minor female can be heard in
           07.25.49.141.DVR.mp4                          the background but there is no audio of any other participant; User of
                                                         the computer appears to be playing World of Warcraft; 00:55 in length




                                                                                                                   Page 30 of 30
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       United States v. Troy Skinner, 3:19-cr-19-MHL
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